
USCA1 Opinion

	




                                [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT


                                 ____________________

        No. 94-2230

                                 PEDRO SOTO-ALVAREZ,

                                Petitioner, Appellant,

                                          v.

                              UNITED STATES OF AMERICA,

                                Respondent, Appellee.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF PUERTO RICO

                  [Hon. Juan M. Perez-Gimenez, U.S. District Judge]
                                               ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                           Selya and Stahl, Circuit Judges.
                                            ______________

                                 ____________________

            Pedro Soto-Alvarez on brief pro se.
            __________________
            Jo  Ann  Harris,  Assistant Attorney  General,  Theresa  M.B.  Van
            _______________                                 __________________
        Vliet, Chief, and Lena Watkins,  Attorney, Criminal Division, Narcotic
        _____             ____________
        and  Dangerous Drug  Section,  Department  of  Justice, on  brief  for
        appellee.


                                 ____________________

                                    July 20, 1995
                                 ____________________























                 Per Curiam.   Petitioner Pedro Soto-Alvarez  appeals the
                 __________

            dismissal  by  the  United  States  District  Court  for  the

            District of Puerto Rico of  his motion to vacate his sentence

            pursuant to 28 U.S.C.   2255.  Petitioner raises three claims

            on appeal.

                 First, Soto-Alvarez alleges that he received ineffective

            assistance of counsel because his counsel previously had been

            hired  by Jose Panzardi Alvarez to represent Panzardi's wife,

            Gloria Nieves, when she and Panzardi pled guilty to violating

            the  civil rights of  a government informant  by killing him.

            Panzardi  and Nieves, along with Soto-Alvarez and others, had

            been members  of an organization involved in  the shipment of

            drugs from Colombia to Puerto Rico.  After pleading guilty to

            killing  the informant, Panzardi and Nieves agreed to testify

            against  members of  their own  organization.   According  to

            Soto-Alvarez, his counsel's  divided loyalties kept him  from

            effectively cross-examining Panzardi in regard to  Panzardi's

            testimony that he  and Soto-Alvarez had traveled  together to

            Venezuela   to  purchase  heroin  and  cocaine.    Panzardi's

            passport failed to reveal any travel to Venezuela at the time

            in  question.     Soto-Alvarez  also  asserts   that  divided

            loyalties  prevented  his  counsel  from  effectively  cross-

            examining  Panzardi and Nieves as to  their prior records and

            their  agreement to cooperate  with government.   Such cross-





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            examination would, in Soto-Alvarez' view, have undermined the

            credibility of Panzardi and Nieves.

                 To show an entitlement to relief, Soto-Alvarez must show

            that his  counsel failed  to pursue  a plausible  alternative

            defense strategy because of divided loyalties.  United States
                                                            _____________

            v.  Garcia-Rosa, 876  F.2d 209,  231  (1st Cir.  1989).   The
                ___________

            record  reveals that,  while Soto-Alvarez's  counsel did  not

            cross-examine Panzardi  about  the  discrepancy  between  his

            testimony  and his passport  stamp, counsel did  impeach that

            testimony, during  closing  argument, by  calling the  jury's

            attention  to  the  passport, which  had  been  introduced as

            evidence,  and its apparent conflict with Panzardi's account.

            As  to the  prior records  of Panzardi  and Nieves  and their

            cooperation with  the government,  this court  has previously

            found  that both  Panzardi  and  Nieves were  "cross-examined

            thoroughly" by counsel  for Soto-Alvarez's codefendants, that

            the jury was made aware of their involvement in the murder of

            the informant, and that their credibility had been "more than

            sufficiently explored."  Garcia-Rosa, 876 F.2d at 237 &amp; n.23.
                                     ___________

            Therefore, further  cross-examination  of  the  witnesses  by

            counsel for Soto-Alvarez  on these issues would  largely have

            been  cumulative.   Since Soto-Alvarez  has  not alleged  any

            specific details  as to the  conduct of  Panzardi and  Nieves

            which  were not explored at trial, he  has failed to show the





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            existence  of an alternative  defense strategy which  was not

            pursued at trial.

                 Soto-Alvarez also alleges  that he received  ineffective

            assistance of counsel because counsel failed to advise him of

            his right to  testify in his own  behalf.  Even if  we assume

            arguendo that the  bare allegation is sufficient to show that
            ________

            counsel   had  been   constitutionally  deficient,   but  see
                                                                 ___  ___

            Underwood v.  Clark, 939  F.2d 473,  475-76  (7th Cir.  1991)
            _________     _____

            ("barebones assertion" that attorney told client he could not

            testify  insufficient,  absent  "greater  particularity,"  to

            necessitate  evidentiary  hearing), Soto-Alvarez  still  must

            show  a reasonable probability that, but for counsel's error,

            the  result  of  the proceeding  would  have  been different.

            Strickland v. Washington, 466 U.S. 668, 694 (1984).   
            __________    __________

                 Soto-Alvarez  alleges that,  if allowed  to testify,  he

            would have  refuted Panzardi's  testimony as  to the  alleged

            trip to Venezuela  to purchase drugs.   However, Soto-Alvarez

            has failed  to show  either that, if  allowed to  testify, he

            would have brought  to the jurors' attention  any information

            of which  they were not  already aware or how  that testimony

            would  have made  it  reasonably  probable that  Soto-Alvarez

            would not have been convicted on the  charges for which he is

            now imprisoned.  First, as already noted, the  discrepancy in

            Panzardi's  account of  the trip  was brought  to  the jury's

            attention.  Moreover, the evidence  of the trip went to prove



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            that Panzardi and  Soto-Alvarez were members of  a conspiracy

            to possess with  intent to distribute cocaine  and heroin and

            Soto-Alvarez' conviction on the conspiracy charge has already

            been reversed.  United States  v. Soto-Alvarez, 958 F.2d 473,
                            _____________     ____________

            478 (1st Cir.),  cert. denied, 113 S.Ct. 221  (1992).  Third,
                             ____  ______

            there  was sufficient evidence  of Soto-Alvarez' guilt  as to

            the other charges on which  he was convicted without  relying

            on  the  fact  that he  and  Panzardi  traveled  to Venezuela

            together.  Id.  
                       __

                 Soto-Alvarez'  final   claim  is  that   the  government

            breached  its 1985  plea agreement  with  him by  introducing

            evidence from the dismissed counts  at his 1986 trial.  Since

            this   alleged   error    is   neither   constitutional   nor

            jurisdictional, Soto-Alvarez  is entitled  to relief  only if

            the  error   was  "a  fundamental  defect   which  inherently

            result[ed] in a complete miscarriage of justice."   Knight v.
                                                                ______

            United States, 37 F.3d 769, 772 (1st Cir. 1994) (quoting Hill
            _____________                                            ____

            v. United States, 368 U.S. 424, 428 (1962)).  
               _____________

                 According to  the 1985  plea  agreement, the  government

            agreed  not to charge  Soto-Alvarez with the  possession with

            intent  to distribute 283  grams of cocaine  during September

            1984.  During  his 1986 trial, Soto-Alvarez  was found guilty

            of possession with  intent to distribute approximately  seven

            kilograms of cocaine.  Even  if the 283 grams were improperly

            included within  those seven kilograms,  the jury supportably



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            found  that,   aside  from  these  283   grams,  Soto-Alvarez

            possessed with the intent to  distribute almost six and three

            quarters  kilograms  of  cocaine.    Since  Soto-Alvarez  has

            provided no evidence that, even  without the inclusion of the

            283 grams, either the verdict or his sentence would have been

            any  different, we  find no  miscarriage of  justice  in this

            case.  

                 The  district  court   order  dismissing  Soto-Alvarez's

            petition is affirmed.
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